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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: KATRINA CANAL BREACHES
CONSOLIDATED LITIGATION

CIVIL ACTION
No.: 05-4182 “K” (2)

JUDGE DUVAL

FILED IN: 05-4181, 05-4182, 05-4191, 05-4568,
05-5237, 05-6073, 05-6314, 05-6324,
05-6327, 05-6359, 06-0020, 06-1885,
06-0225, 06-0886, 06-11208, 06-2278,
06-2287, 06-2346, 06-2545, 06-3529,
06-4065, 06-4389, 06-4634, 06-4931,
06-5032, 06-5042, 06-5159, 06-5163,
06-5367, 06-5471, 06-5771, 06-5786,
06-5937, 06-7682, 07-0206, 07-0647,
07-0993, 07-1284, 07-1286, 07-1288,
07-1289,

MAG, WILKINSON

PERTAINS TO: LEVEE AND MR-GO

Meo ko

JOINT MOTION FOR COURT APPROVAL OF
MODIFICATION OF CLASS SETTLEMENT AGREEMENT

NOW INTO COURT come Class Counsel’ and counsel for the Settling Defendants,
who, pursuant to Section V.7 of the Class Settlement Agreement and on behalf of their

respective clients, respectfully request that this Court approve certain modifications to the Class

‘ Except as otherwise expressly provided below or as the context otherwise requires, all capitalized terms used in
this motion shall have the meanings and/or definitions given them in the Class Settlement Agreement, the original of
which, together with all exhibits, is attached to the Joint Motion for Certification of Settlement Class, for Approval
of Proposed Settlement and for the Stay of Certain Claims and Actions as in globo Exhibit “1”.

EXHIBIT

NO.99956740. 1

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Settlement Agreement, and authorize the filing of the amended Class Settlement Agreement into

the record in these proceedings.

1.

Pursuant to Section V.7 of the Class Settlement Agreement, Class Counsel and counsel
for the Settling Defendants hereby give notice in writing of their written agreement to strike
Section IV.5 of the Class Settlement Agreement in its entirety and to modify Section IV.6 of that
Agreement so as to eliminate certain defense and indemnity obligations imposed upon Class

Members by the Agreement.

2.
These minor modifications, which favor (and plainly are not materially adverse to) the

Settlement Class, are as follows:
(1) to strike, in its entirety, Section IV.5 of the Class Settlement Agreement (appearing at

page 32 of the Class Settlement Agreement), which currently states:

5. As of the Effective Date of Class Settlement, to the extent
of each Class Member’s individual and net recovery and to the extent the
claim described in this Section arises out of the Claim of that Class
Member, each Class Member shall defend, indemnify, and hold harmless
the Released Parties from and against (a) any and all Claims by, on behalf
of, through, or deriving from his, her, or its heirs, executors,
representatives, attorneys or former attorneys, successors, employers,
insurers, employers’ insurers, health insurers, health care providers,
assignees, subrogees, predecessors in interest, successors in interest,
beneficiaries or survivors; and (b) any Claims for Contribution, Indemnity,
and/or Subrogation, whether arising under tort, contract or otherwise,
related in any way to the Released Claims of said Class Member released
by this Class Settlement Agreement.

(2) to modify Section IV.6 of the Class Settlement Agreement (appearing at pages 32 and
33 of the Class Settlement Agreement} by removing any reference to a defense or indemnity
obligation on the part of the Class Members, so that that Section states in its entirety (deleted

provisions appear in strikeout for clarity):
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6. It is expressly understood and agreed that the indemnie,
defernse,and—judgment reduction obligations detailed above shall exist
regardless of the legal basis for the claim, demand, cause of action, right
of action, liability, lien, or judgment demand asserted by any Person to the
extent related to the Released Claims against any Released Party. In
particular, the Class Members expressly bind themselves to the foregoing

indenmit—defense;-and judgment reduction obligations regardless of

whether the claim, demand, suit, liability, lien, judgment, cause of action,

or right of action is based on or related to (a) the negligence of any of the

Released Parties, sole or concurrent; (b) the strict liability of any of the

Released Parties under any theory whatsoever; (c) the absolute liability of

any of the Released Parties; (d) the wanton, reckless, or willful

misconduct of any of the Released Parties; (e) any actual, alleged or

purported right, asserted by any Settling Defendant or any Class Member

under a policy of insurance issued by St. Paul; or (f) any other basis

whatsoever.

3.

By this motion, Class Counsel and counsel for the Settling Defendants, on behalf of their
respective clients, request that the Court approve of the changes. The Class Settlement
Agreement itself expressly contemplates that such revisions to the Agreement might be made,
particularly where — as here ~ the proposed modifications are to the benefit of, and not

detrimental to, the Class Members.

WHEREFORE, Class Counsel and counsel! for the Settling Defendants, on behalf of their
respective clients, respectfully request that this Court approve the modifications to Sections IV.5
and [V.6 of the Class Settlement Agreement as reflected above, and authorize the filing of the

amended Class Settlement Agreement into the record in these proceedings.
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Respectfully submitted,

LAW OFFICES OF JOSEPH M. BRUNO

BY:_/s/ Joseph M. Bruno
Joseph M. Bruno (#3604)
855 Baronne Street
New Orleans, Louisiana 70113
Telephone: (504) 525-1335
Facsimile: (504) 561-6775

ATTORNEYS ON BEHALF OF CLASS
COUNSEL, AND AS LIAISON COUNSEL FOR
LEVEE AND MR-GO-PLAINTIFF SUBGROUP
LITIGATION COMMITTEES

GAINSBURGH, BENJAMIN, DAVID, MEUNIER
& WARSHAUER, L.L.C.

BY:___/s/ Gerald E. Meunier
Gerald E. Meunier (#9471)
2800 Energy Centre
1100 Poydras Street
New Orleans, Louisiana 70163-2800
Telephone: (504) 522-2304
Facsimile: (504) 528-9973

LIAISON COUNSEL FOR LEVEE-PLAINTIFF
SUBGROUP LITIATION COMMITTEE

DOMENGEAUX WRIGHT ROY & EDWARDS

BY:___/s/ James P. Roy
James P. Roy (#11511)
556 Jefferson Street
Lafayette, Louisiana 70502
Telephone: (337) 593-4190
Facsimile: (337) 233-2796

LIAISON COUNSEL FOR MR-GO-PLAINTIFF
SUBGROUP LITIGATION COMMITTEE
Case 2:05-cv-04182-SRD-JCW Document 19256-9 Filed 09/09/09 Page 5 of 7
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MCCRANIE, SISTRUNK, ANZELMO, HARDY,
MAXWELL & MCDANIEL

BY: /s/ Thomas P. Anzeimo
Thomas P. Anzelmo (#2533)
3445 N. Causeway Boulevard, Suite 800
Metairie, Louisiana 70002
Telephone: (504) 831-0946
Facsimile: (504) 831-2492

ATTORNEYS FOR THE BOARD OF
COMMISSIONER’S FOR THE ORLEANS
LEVEE DISTRICT AND THE ORLEANS LEVEE
DISTRICT

DUPLASS, ZWAIN, BOURGEOIS, MORTON
PFISTER & WEINSTOCK

BY:___/s/ Gary M. Zwain
Gary M. Zwain (#13809)
Three Lakeway Center, Suite 2900
3838 North Causeway Boulevard
Metairie, Louisiana 70002
Telephone: (504) 832-3700
Facsimile: (504) 837-3119

ATTORNEYS FOR THE BOARD OF
COMMISSIONERS FOR THE EAST
JEFFERSON LEVEE DISTRICT, THE EAST
JEFFERSON LEVEE DISTRICT, THE BOARD
OF COMMISSIONERS FOR THE LAKE
BORGNE BASIN LEVEE DISTRICT, AND THE
LAKE BORGNE BASIN LEVEE DISTRICT
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LUGENBUHL, WHEATON, PECK, RANKIN &
HUBBARD

BY:

/s/ Ralph §. Hubbard

Ralph S. Hubbard TH (#7040)

601 Poydras Street, Suite 2775
New Orleans, Louisiana 70130
Telephone: (504) 568-1990
Facsimile: (504) 310-9195

and
PHELPS DUNBAR LLP
BY:  /s/S. Ault Hootsell Ul

S. Ault Hootsell HI

Canal Place

365 Canal Street, Suite 2000
New Orleans, LA 70130-6534
Telephone: (504) 566-1311
Telecopier: (504) 568-9130

ATTORNEYS FOR ST. PAUL FIRE AND
MARINE INSURANCE COMPANY
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CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Joint Motion for Court Approval of Modification of
Class Settlement Agreement has been electronically filed with the Clerk of Court by using the
CMECF system which will send a notice of electronic filing to all counsel of record and a copy

sent to the following via U.S. First Class mail, postage prepaid, this 26th day of June, 2009,

Richard A. Nussbaum, II James K. Irvin

Sopko, Nussbaum, Inabnit & Kaczmarek Michael J. Monistere

5th Floor — Plaza Building Chadwick W. Collings

210 S. Michigan Street Milling Benson Woodward L.L.P.
P.O. Box 300 909 Poydras Street, Suite 2300
South Bend, Indiana 46624 New Orleans, LA 70112-1010
Facsimile: (574) 234-4200 Facsimile: (504) 569-7001
E-mail: dickn@sni-law.com E-mail: jirvin@millinglaw.com
John J. Cummings, I] Jennifer J. Rosenbaum

Cummings & Cummings New Orleans Workers’ Center for Racial
416 Gravier Street Justice

New Orleans, LA 70130 217 N. Prieur Street

New Orleans, LA 70112
E-mail: jjrosenbaum@email.com

Michael T. Kirkpatrick

Allison M. Zieve

Public Citizen Litigation Group
1600 10" Street NW
Washington, DC 20009
mkirkpatrick@citizen.org

/s/ S, Ault Hootsell TU

